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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0427V
                                          UNPUBLISHED


    CAROL SCOTT,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: August 14, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On March 21, 2019, Carol Scott filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccination administered on
August 28, 2017. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

     On June 8, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On August 13, 2020, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $129,749.983

1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
3
 Respondent has indicated this calculation is incorrect and confirmed that Petitioner’s award should be
$129,749.48. Petitioner agrees. See Informal Communication (Remark) dated August 14, 2020.
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(comprised of $127,500.00 for pain and suffering and $2,249.48 for past out of pocket
medical expenses). Proffer at 1. In the Proffer, Respondent represented that Petitioner
agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $129,749.48 (comprised of $127,500.00 for pain and suffering and
$2,249.48 for past out of pocket medical expenses) in the form of a check payable
to Petitioner. This amount represents compensation for all damages that would be
available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.4

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


    CAROL SCOTT,                  )
                                  )
              Petitioner,         )
    v.                            )                  No. 19-427V
                                  )                  Chief Special Master Corcoran
    SECRETARY OF HEALTH AND HUMAN )                  ECF
    SERVICES,                     )
                                  )
              Respondent.         )
                                  )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

    I.    Items of Compensation

          On June 4, 2020, respondent conceded that entitlement to compensation was appropriate

under the terms of the Vaccine Act. The Chief Special Master issued a Ruling on Entitlement on

June 8, 2020, finding that petitioner was entitled to vaccine compensation for her left-sided

shoulder injury related to vaccine administration. Based upon the evidence of record, respondent

proffers that petitioner should be awarded $129,749.98. The award is comprised of the

following: $127,500.00 for pain and suffering and $2,249.48 for past out of pocket medical

expenses. This amount represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $129,749.98, in the form of a check payable to petitioner. 1 Petitioner

agrees.


1
 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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      Petitioner is a competent adult. Evidence of guardianship is not required in this case

                                                   Respectfully submitted,

                                                   ETHAN P. DAVIS
                                                   Acting Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   CATHARINE E. REEVES
                                                   Deputy Director
                                                   Torts Branch, Civil Division

                                                   DARRYL R. WISHARD
                                                   Assistant Director
                                                   Torts Branch, Civil Division

                                                   s/Traci R. Patton
                                                   TRACI R. PATTON
                                                   Senior Trial Attorney
                                                   Torts Branch, Civil Division
                                                   U.S. Department of Justice
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                                                   Washington, DC 20044-0146
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Dated: August 13, 2020




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